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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)                       Order Filed on August 14, 2019
                                                                        by Clerk, U.S. Bankruptcy
                                                                      Court - District of New Jersey
SCOTT J GOLDSTEIN
Chern Law, LLC
280 West Main Street
Denville, NJ 07834
(973) 453-2838
sjg@sgoldsteinlaw.com
Attorney for Brian Ewing, Debtor



In Re:                                                    Case No.:              17-35838

         Brian Ewing,                                     Chapter:                13

                                                          Judge:                 SLM
                                      Debtor




                    ORDER GRANTING SUPPLEMENTAL CHAPTER 13 FEE


   The relief set forth on the following page is ORDERED




 DATED: August 14, 2019
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ORDER GRANTING
SUPPLEMENTAL CHAPTER 13 FEE
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The applicant having certified that legal work supplemental to basic chapter 13 services has been
rendered, and no objections having been raised it is:


ORDERED that                      Scott J Goldstein               the applicant, is allowed
a fee of $ 400.00                  for services rendered and expenses in the amount of
$ 0.00                   for a total of $ 400.00                    The allowance is payable:

         ‫ ܈‬through the Chapter 13 plan as an administrative priority.

         ‫ ܆‬outside the plan.
         
The debtor’s monthly plan is modified to require a payment of $ 760.00             per month for
40            months to allow for payment of the above fee.




                                                                                rev. 8/1/15
                                              2.
